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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              AMENDED NOTICE OF MOTION FOR
                                               SANCTIONS FILED BY NSO GROUP
13               Plaintiffs,                   TECHNOLOGIES LIMITED AND Q
                                               CYBER TECHNOLOGIES LIMITED
14         v.
                                               Date:    April 22, 2020
15   NSO GROUP TECHNOLOGIES LIMITED            Time:    9:00 a.m.
     and Q CYBER TECHNOLOGIES LIMITED,         Ctrm:    3
16                                             Judge:   Hon. Phyllis J. Hamilton
                 Defendants.
17                                             Action Filed: 10/29/2019
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      AMENDED NOTICE OF MOTION FOR                                   Case No. 4:19-cv-07123-PJH
      SANCTIONS
       Case 4:19-cv-07123-PJH Document 43 Filed 03/31/20 Page 2 of 2




 1          TO THE COURT AND PLAINTIFFS AND THEIR ATTORNEYS:

 2          PLEASE TAKE NOTICE that pursuant to the Clerk’s Notice of Pending Reassignment

 3   to a U.S. District Court Judge [Dkt. No. 36], the Motion for Sanctions of Defendants NSO Group

 4   Technologies Limited and Q Cyber Technologies Limited [Dkt. No 28] is hereby re-noticed for

 5   hearing to April 22, 2020, at 9:00 a.m in the United States District Court for the Northern District

 6   of California, Oakland Division, Courtroom 3 before the Honorable Phyllis J. Hamilton, Chief

 7   United States District Judge.

 8          The Motion has been fully briefed, as of the date of this Amended Notice.

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10   Dated: March 31, 2020                         KING & SPALDING LLP
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12                                                 By:    /s/Joseph N. Akrotirianakis
                                                          JOSEPH N. AKROTIRIANAKIS
13                                                        AARON S. CRAIG
14                                                        Attorneys for Defendants NSO GROUP
                                                          TECHNOLOGIES LIMITED and Q
15                                                        CYBER TECHNOLOGIES LIMITED

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       AMENDED NOTICE OF MOTION                       1                        Case No. 4:19-cv-07123-PJH
       FOR SANCTIONS
